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                 5                                    UNITED STATES DISTRICT COURT
                 6                                               DISTRICT OF NEVADA
                 7                                                         ***
                 8       UNITED STATES OF AMERICA,                                 Case No. 2:12-CR-463 JCM (VCF)
                 9                                                 Plaintiff(s),                    ORDER
               10                v.
               11        FREDERICK VERNON WILLIAMS, et al.,
               12                                                Defendant(s).
               13
               14               Presently before the court is defendant Frederick Williams’s emergency motion for release
               15       pending sentencing. (ECF No. 794). The government has not filed a response.
               16               Mr. Williams was found guilty of a variety of fraud-based crimes on January 15, 2016, by
               17       jury verdict. (ECF No. 724). After the jury’s verdict was read in court, the undersigned found that
               18       Mr. Williams, a native of Belize, had failed to present clear and convincing evidence that he is not
               19       a flight risk. The court ordered defendant detained pending sentencing pursuant to 18 U.S.C. §
               20       3143(a). (See Tr. of Proceedings, Jury Trial, Day 10, ECF No. 788 at 30).
               21               Defendant now seeks temporary release from custody pending his sentencing scheduled
               22       for July 29, 2016. (ECF No. 794). Defendant represents that his mother is being released from a
               23       hospital. He indicates that no other family members are available to attend to her needs and help
               24       her get situated at a residence. (Id.)
               25               Under 18 U.S.C. § 3143(a), the court must detain a defendant who has been found guilty
               26       pending sentencing unless the court finds by clear and convincing evidence that the defendant is
               27       not a flight risk and poses no danger to the community. 18 U.S.C. § 3143(a).
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James C. Mahan
U.S. District Judge
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                1               Defendant misapplies the standard set forth in § 3143(a). He argues that “there is no clear
                2     and convincing evidence that Williams will flee or pose a danger to the community.” (ECF No.
                3     794 at 2). Under § 3143(a), the government is not required to produce evidence that a defendant
                4     who has been found guilty will flee or poses a danger to the community. Instead, the statute
                5     features a presumption that such a defendant will flee or pose a danger to the community and
                6     mandates that a court detain him “unless” the defendant presents “clear and convincing evidence
                7     that [he] is not likely to flee or pose a danger to the community.” 18 U.S.C. § 3143(a) (emphasis
                8     added).
                9               The defendant did not present such evidence at trial and presents none now. Moreover,
              10      based on the evidence presented at trial, the undersigned already found that there is substantial
              11      evidence that this defendant is likely to flee. He faces long terms of imprisonment on twenty-one
              12      separate counts, is a national of a foreign country, has significant ties to that country, and is subject
              13      to a pending deportation order. The court finds no evidence before it that warrants reversing the
              14      detention order entered after the jury reached its verdict. Defendant’s family medical situation does
              15      not figure into the analysis under 18 U.S.C. § 3143(a).
              16                Accordingly,
              17                IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Frederick
              18      Williams’s emergency motion for release pending sentencing (ECF No. 794) be, and the same
              19      hereby is, DENIED.
              20                DATED June 23, 2016.
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              22                                                      __________________________________________
                                                                      UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                     -2-
